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                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA


RE:      JOHN M SKIPPINGS                                                                 CASE NUMBER:-18-21683-AJC

      TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s letter
requesting documents and prior deficiencies and thus objects as follows (If this case is dismissed, this
deficiency is an objection to reinstatement until all documents are received or all issues are addressed):

WRITTEN RESPONSE TO ISSUES RAISED AND/OR DOCUMENTS REQUESTED MUST BE
RECEIVED BY 5PM AT LEAST FIFTEEN DAYS (NOT INCLUDING HOLIDAYS) PRIOR TO THE
CONFIRMATION HEARING TO AVOID DISMISSAL. Please note: documents that were not timely
filed/received by the trustee may not be considered as there is not sufficient time for an additional review of this
case. Call the Trustee's case administration department prior to “re-sending” documents. The Trustee
reserves the right to raise additional objections UNTIL all documents are timely provided to the Trustee and
reviewed for possible issues raised and additional documents needed.

The debtor or debtor’s attorney must appear at the confirmation hearing even if they pre-hear with the
Trustee. The debtor may be dismissed for failure to fund the plan if they are delinquent in payments.
The Court may dismiss this case if no one appears to represent the debtor at the confirmation hearing.

IMPORTANT NOTICE: IF THE DEBTOR(S) OBJECTS TO THE TRUSTEE'S RECOMMENDATION, THE
DEBTOR'S ATTORNEY MUST CONTACT THE TRUSTEE'S OFFICE AND SPEAK TO AN ATTORNEY
BEFORE 2PM THE LAST BUSINESS DAY PRIOR TO THE CONFIRMATION HEARING TO SEEK A
RESOLUTION OR THE RECOMMENDATION WILL BE DEEMED UNCONTESTED BY THE DEBTOR.

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Recommendation for February 26, 2019 hearing. All amendments and documents for the February 26,
2019 hearing were due as of February 11, 2019. (Call the Trustee's case administration department prior
to "re-sending" documents)


Remains unresolved from prior deficiency
Due by 5 pm on 2/28 or D/W/P 180 Days, if received cont to 3/26: 1) 2016 returns; 2) LF 67; 3) Sec I and II
incomplete; 4) FMV of vehicles; 5) WDO or motion to waive




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                  Submitted by:
                                                                  NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402
